      Case
      Case3:07-cv-05944-SC
           3:07-cv-05944-JST Document2377-2
                              Document 2424 Filed
                                            Filed02/10/14
                                                  03/07/14 Page1
                                                           Page 1of
                                                                  of22



 1
                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 3
      IN RE CATHODE RAY TUBE (CRT)                      Master File No. 3:07-md-05944-SC
 4    ANTITRUST LITIGATION
                                                        MDL No. 1917
 5
     This Document Relates To:                          [PROPOSED] ORDER GRANTING
 6                                                      DIRECT ACTION PLAINTIFFS’
      Best Buy Co, Inc. v. Technicolor                  ADMINISTRATIVE MOTION TO SEAL
 7    SA, et al., No. 13-cv-05264;                      PORTIONS OF THEIR OPPOSITION TO
                                                        THOMSON CONSUMER’S MOTION TO
 8    Siegel v. Technicolor SA, et al., No. 13-cv-      DISMISS PURSUANT TO CIVIL LOCAL
      00141;                                            RULES 7-11 AND 79-5(d)
 9

10    Costco Wholesale Corp. v. Technicolor SA, et
      al., No. 13-cv-05723;
11
      Electrograph Systems, Inc. v. Technicolor SA,
12
      et al., No. 13-cv-05724;
13
      Interbond Corp. of Am. v. Technicolor SA, et
14    al., No. 13-cv-05727;

15    Office Depot, Inc. v. Technicolor SA, et al.,
      No. 13-cv-05726;
16

17    P.C. Richard & Son Long Island Corp. v.
      Technicolor SA, et al., No. 13-cv-05725;
18
      Sears, Roebuck & Co. v. Technicolor SA, et
19    al., No. 13-cv-05262;
20
      Schultze Agency Services, LLC v. Technicolor
21    SA, et al., No. 13-cv-05668; and

22    Target Corp. v. Technicolor SA, et al., No. 13-
      cv-05686
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     [PROPOSED] ORDER GRANTING
                                                                            Master File No. 3:07-md-05944-SC
     DIRECT ACTION PLAINTIFFS’
     ADMINISTRATIVE MOTION TO SEAL
      Case
      Case3:07-cv-05944-SC
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                              Document 2424 Filed
                                            Filed02/10/14
                                                  03/07/14 Page2
                                                           Page 2of
                                                                  of22



 1            On February 10, 2014, Plaintiffs Best Buy Co., Inc.; Best Buy Purchasing LLC; Best Buy
 2   Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com, L.L.C.; Magnolia Hi-Fi, L.L.C.;
 3   Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Electrograph
 4   Systems, Inc.; Electrograph Technologies Corp.; Interbond Corporation of America; Office
 5   Depot, Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
 6   Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
 7   behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
 8   Corp.; and Target Corp., (collectively “Plaintiffs”) filed an Administrative Motion to Seal
 9   Portions of their Opposition to Thomson Consumer’s Motion to Dismiss Pursuant to Civil Local
10   Rules 7-11 and 79-5(d) to file under seal the highlighted portions of the following documents:
11            •    Direct Action Plaintiffs’ Opposition to Thomson Consumer’s Motion to Dismiss
12                 Complaints (“Opposition”)
13            Having read and considered the papers filed and arguments made by counsel, and good
14   cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ Administrative Motion to Seal
15   Portions of Their Opposition to Thomson Consumer’s Motion to Dismiss Pursuant to Local Civil
16   Rules 7-11 and 79-5(d) is GRANTED.
17

18   IT IS SO ORDERED
19

20   Dated:       March 7, 2014
                                                           Hon. Samuel Conti
21
                                                           UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING
                                                                               Master File No. 3:07-md-05944-SC
     DIRECT ACTION PLAINTIFFS’                       -1-
     ADMINISTRATIVE MOTION TO SEAL
